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 4

 5   Attorney for Defendant, ARLENE J. MOJARDIN
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 7                                 UNITED STATES DISTRICT COURT
 8                                EASTERN DISTRICT OF CALIFORNIA
 9
                                                    )       Case No.: 1:12-CR-00213 AWI-DLB
10   THE UNITED STATES OF AMERICA,                  )
                                                    )       WAIVER OF APPEARANCE AND
11                   Plaintiff,                     )       ORDER THEREON
                                                    )
12          V.                                      )
                                                    )
13                                                  )
     ARLENE J. MOJARDIN                             )       DATE: November 13, 2012
14                                                  )       TIME: 1:00 p.m.
                     Defendants.                    )       PLACE: Honorable Dennis L. Beck
15                                                  )
                                                    )
16                                                  )
                                                    )
17                                                  )
18          Defendant, ARLENE J. MOJARDIN, hereby waives her right to be present in open court
19   upon the hearing presently set for November 13, 2012 at 1:00 p.m. in Courtroom Three of the

20   above entitled court.
            Defendant hereby requests the court proceed during every absence of which the court
21
     may permit pursuant to this waiver; agrees that her interests will be deemed represented at all
22
     times by the presence of her attorney, E. MARSHALL HODGKINS, the same as if the defendant
23   was personally present; and further agrees to be present in person in court ready for trial any day
24   and hour the court may fix in her absence.

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            Defendant further acknowledges that she has been informed of their rights under Title 18,
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     United States Code, Section 3161-3174 (Speedy Trial Act), and authorizes their attorney to set
 2
     times and delays under the Act without the defendant being present.
 3

 4
     Dated: _________________                                   ________________________K
 5                                                              ARLENE J. MOJARDIN
                                                                Defendant
 6

 7                                                              Respectfully submitted,
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 9
     Dated: _________________                                   __/s/ E. Marshall Hodgkins__
                                                                E. MARSHALL HODGKINS
10                                                              Attorney for Defendant
                                                                ARLENE J. MOJARDIN
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                                                           ORDER
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 3                            IT IS HEREBY ORDERED that Defendant ARLENE J. MOJARDIN is hereby excused
     from appearing at the court hearing scheduled for November 13, 2012 at 1:00 p.m.
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 5
     IT IS SO ORDERED.
 6
                           Dated:   October 26, 2012                      /s/ Dennis L. Beck
 7                                                                 UNITED STATES MAGISTRATE JUDGE
     DEAC_Signature-END:




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